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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT O F FLORIDA

                                C ASE N O . 20-M J-02247-CM M



  IN RE : SEA LED CO M PLA INT

                                          /

                          SEALED M O TIO N TO SEAL CO M PLAINT

         NOW COM ES theUnited StatesofAmerica, by and through itsundersigned attorney, and

  respectfullyrequeststhattheComplaint(DE 1),filedFebruary18,2020inthismatter, theaffidavit
  supporting theComplaint,thismotion,and any resulting orderbe SEALED untilfurtherorderof

  thiscourt. However,werequestthattheUnited StatesAttorney'sOfficeand defensecounselbe

  pennitted to obtain copies ofthe com plaint. The groundsforthisM otion isthatthe integrity of

  the ongoing investigation m ightbe comprised should any ofthe foregoing documents be m ade

  publicly available atthistime. The Governm entwasunaware ofthisatthe time ofthe hearing

  and failed to requestthatthe Com plaintbe sealed.

                                                      Respectfully subm itted,

                                                      ARIANA FAJARDO ORSHAN
                                                      UN ITED STATES A TTORN EY


                                              By:     ls/Karen E.Gilbert     - -

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